              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:13-cv-00029-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                      ORDER
                                )
                                )
ROCKY JOHNSON,                  )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Government’s Motion for

Order of Forfeiture [Doc. 36, refiled as Doc. 37].

      On April 2, 2013, the Defendant was charged in a Bill of Indictment

with one count of bank robbery, in violation of 18 U.S.C. § 2113(a). [Doc.

1]. The Bill of Indictment includes a Notice of Forfeiture and Finding of

Probable Cause, in which the Grand Jury found that there was probable

cause to believe that the following property is subject to forfeiture in this

case: “A forfeiture money judgment in the amount of at least $6,274, such

amount constituting the proceeds of the violations set forth in this bill of

indictment.” [Id. at 2].




    Case 1:13-cr-00029-MR-WCM     Document 38    Filed 09/18/14   Page 1 of 3
      The Defendant pled guilty without the benefit of a plea agreement on

December 30, 2013. [See Doc. 34]. Thereafter, the Government filed the

present motion for the entry of an order of forfeiture. In its motion, the

Government seeks the entry of a forfeiture money judgment in the amount

of $6,274 “by virtue of the plea agreement and guilty plea of the defendant

and the determination of the amount of money derived from the offense” to

which the Defendant pled guilty. [Doc. 37 at 3].

      Contrary to the Government’s assertion, the Defendant did not plead

guilty pursuant to a plea agreement in this case; he pled straight up to the

charge. Thus, there is no agreement or stipulation on the record as to the

issue of forfeiture.   Moreover, the Government has not presented any

evidence from which the Court can make a determination of the amount of

money derived from the offense to which the Defendant pled. Accordingly,

the Government’s motion for a forfeiture money judgment is denied without

prejudice.

      IT IS, THEREFORE, ORDERED that the Government’s Motion for

Order of Forfeiture [Doc. 36, refiled as Doc. 37] is DENIED WITHOUT

PREJUDICE.




                                     2



   Case 1:13-cr-00029-MR-WCM     Document 38   Filed 09/18/14   Page 2 of 3
 IT IS SO ORDERED.
                            Signed: September 18, 2014




                                     3



Case 1:13-cr-00029-MR-WCM     Document 38          Filed 09/18/14   Page 3 of 3
